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 Subtask Deliverable Deliverable Name                                                      Due date
       1.1 1.1.0     Redacted proposal                                                         3/11/2022
       1.1 1.1.1     Summary of REL Kickoff Meeting                                            4/14/2022
       1.2 1.2.1.01  Biweekly/Bimonthly call agenda (3/16/22)                                  3/14/2022
       1.2 1.2.1.02  Biweekly/Bimonthly call summary memo (3/16/22)                            3/23/2022
       1.2 1.2.1.03  Biweekly/Bimonthly call agenda (3/29/22)                                  3/25/2022
       1.2 1.2.1.04  Biweekly/Bimonthly call summary memo (3/29/22)                             4/5/2022
       1.2 1.2.1.05  Biweekly/Bimonthly call agenda (4/12/22)                                   4/8/2022
       1.2 1.2.1.06  Biweekly/Bimonthly call summary memo (4/12/22)                            4/19/2022
       1.2 1.2.1.07  Biweekly/Bimonthly call agenda (4/27/22)                                  4/25/2022
       1.2 1.2.1.08  Biweekly/Bimonthly call summary memo (4/27/22)                             5/4/2022
       1.2 1.2.1.09  Biweekly/Bimonthly call agenda (5/11/22)                                   5/9/2022
       1.2 1.2.1.10  Biweekly/Bimonthly call summary memo (5/11/22)                            5/18/2022
       1.2 1.2.1.11  Biweekly/Bimonthly call agenda (5/25/22)                                  5/23/2022
       1.2 1.2.1.12  Biweekly/Bimonthly call summary memo (5/25/22)                             6/1/2022
       1.2 1.2.1.13  Biweekly/Bimonthly call agenda (6/8/22)                                    6/6/2022
       1.2 1.2.1.14  Biweekly/Bimonthly call summary memo (6/8/22)                             6/15/2022
       1.2 1.2.1.15  Biweekly/Bimonthly call agenda (6/22/22)                                  6/20/2022
       1.2 1.2.1.16  Biweekly/Bimonthly call summary memo (6/22/22)                            6/29/2022
       1.2 1.2.1.17  Biweekly/Bimonthly call agenda (7/6/22)                                    7/1/2022
       1.2 1.2.1.18  Biweekly/Bimonthly call summary memo (7/6/22)                             7/13/2022
       1.2 1.2.1.19  Biweekly/Bimonthly call agenda (7/20/22)                                  7/18/2022
       1.2 1.2.1.20  Biweekly/Bimonthly call summary memo (7/20/22)                            7/27/2022
       1.2 1.2.1.21  Biweekly/Bimonthly call agenda (8/3/22)                                    8/1/2022
       1.2 1.2.1.22  Biweekly/Bimonthly call summary memo (8/3/22)                             8/10/2022
       1.2 1.2.1.23  Biweekly/Bimonthly call agenda (8/17/22)                                  8/15/2022
       1.2 1.2.1.24  Biweekly/Bimonthly call summary memo (8/17/22)                            8/24/2022
       1.2 1.2.1.25  Biweekly/Bimonthly call agenda (8/31/22)                                  8/29/2022
       1.2 1.2.1.26  Biweekly/Bimonthly call summary memo (8/31/22)                             9/7/2022
       1.2 1.2.1.27  Biweekly/Bimonthly call agenda (9/14/22)                                  9/12/2022
       1.2 1.2.1.28  Biweekly/Bimonthly call summary memo (9/14/22)                            9/21/2022
       1.2 1.2.1.29  Biweekly/Bimonthly call agenda (9/28/22)                                  9/26/2022
       1.2 1.2.1.30  Biweekly/Bimonthly call summary memo (9/28/22)                            10/5/2022
       1.2 1.2.1.31  Biweekly/Bimonthly call agenda (10/12/22)                               10/10/2022
       1.2 1.2.1.32  Biweekly/Bimonthly call summary memo (10/12/22)                         10/19/2022
       1.2 1.2.1.33  Biweekly/Bimonthly call agenda (10/26/22)                               10/24/2022
       1.2 1.2.1.34  Biweekly/Bimonthly call summary memo (10/26/22)                           11/2/2022
       1.2 1.2.1.35  Biweekly/Bimonthly call agenda (11/9/22)                                  11/7/2022
       1.2 1.2.1.36  Biweekly/Bimonthly call summary memo (11/9/22)                          11/16/2022
       1.2 1.2.1.37  Biweekly/Bimonthly call agenda (11/23/22)                               11/21/2022
       1.2 1.2.1.38  Biweekly/Bimonthly call summary memo (11/23/22)                         11/30/2022
       1.2 1.2.1.39  Biweekly/Bimonthly call agenda (12/7/22)                                  12/5/2022
       1.2 1.2.1.40  Biweekly/Bimonthly call summary memo (12/7/22)                          12/14/2022
       1.2 1.2.1.41  Biweekly/Bimonthly call agenda (12/21/22)                               12/19/2022
       1.2 1.2.1.42  Biweekly/Bimonthly call summary memo (12/21/22)                         12/28/2022
       1.2 1.2.1.43  Biweekly/Bimonthly call agenda (1/4/23)                                    1/2/2023
       1.2 1.2.1.44  Biweekly/Bimonthly summary memo (1/4/23)                                  1/11/2023
       1.2 1.2.1.45  Biweekly/Bimonthly call agenda (1/18/23)                                  1/16/2023
       1.2 1.2.1.46  Biweekly/Bimonthly summary memo (1/18/23)                                 1/25/2023
       1.2 1.2.1.47  Biweekly/Bimonthly call agenda (2/1/23)                                   1/30/2023
       1.2 1.2.1.48  Biweekly/Bimonthly summary memo (2/1/23)                                   2/8/2023
       1.2 1.2.1.49  Biweekly/Bimonthly call agenda (2/15/23)                                  2/13/2023
       1.2 1.2.1.50  Biweekly/Bimonthly summary memo (2/15/2023)                               2/22/2023
       1.2 1.2.1.51  Biweekly/Bimonthly call agenda (3/1/23)                                   2/27/2023




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    1.2 1.2.1.52   Biweekly/Bimonthly summary memo (3/1/23)                                              3/8/2023
    1.2 1.2.1.53   Biweekly/Bimonthly call agenda (3/15/2023)                                           3/13/2023
    1.2 1.2.1.54   Biweekly/Bimonthly summary memo (3/15/2023)                                          3/22/2023
    1.2 1.2.1.55   Biweekly/Bimonthly call agenda (3/29/2023)                                           3/27/2023
    1.2 1.2.1.56   Biweekly/Bimonthly Summary Memo (3/29/2023)                                           4/5/2023
    1.2 1.2.1.57   Biweekly/Bimonthly Call Agenda (4/12/23)                                             4/10/2023
    1.2 1.2.1.58   Biweekly/Bimonthly summary memo (4/12/2023)                                          4/19/2023
    1.2 1.2.1.59   Biweekly/Bimonthly Call Agenda (4/26/23)                                             4/24/2023
    1.2 1.2.1.60   Biweekly/Bimonthly summary memo (4/26/2023)                                           5/3/2023
    1.2 1.2.1.61   Biweekly/Bimonthly call agenda (5/10/23)                                              5/8/2023
    1.2 1.2.1.62   Biweekly/Bimonthly summary memo                                                      5/17/2023
    1.2 1.2.1.63   Biweekly/Bimonthly call agenda (5/24/23)                                             5/22/2023
    1.2 1.2.1.64   Biweekly/Bimonthly summary memo (5/24/23)                                            5/31/2023
    1.2 1.2.1.65   Biweekly/Bimonthly call agenda (6/7/23)                                               6/5/2023
    1.2 1.2.1.66   Biweekly/Bimonthly summary memo (6/7/23)                                             6/14/2023
    1.2 1.2.1.67   Biweekly/Bimonthly call agenda (6/21/23)                                             6/19/2023
    1.2 1.2.1.68   Biweekly/Bimonthly summary memo (6/21/23)                                            6/28/2023
    1.2 1.2.1.69   Biweekly/Bimonthly call agenda (7/5/23)                                               7/3/2023
    1.2 1.2.1.70   Biweekly/Bimonthly summary memo (7/5/23)                                             7/12/2023
    1.2 1.2.1.71   Biweekly/Bimonthly call agenda (7/19/2023)                                           7/17/2023
    1.2 1.2.1.72   Biweekly/Bimonthly summary memo (7/19/23)                                            7/26/2023
    1.2 1.2.1.73   Biweekly/Bimonthly call agenda (8/2/23)                                              7/31/2023
    1.2 1.2.1.74   Biweekly/Bimonthly summary memo (8/2/23)                                              8/9/2023
    1.2 1.2.1.75   Biweekly/Bimonthly call agenda (8/16/23)                                             8/14/2023
    1.2 1.2.1.76   Biweekly/Bimonthly summary memo (8/16/2023)                                          8/23/2023
    1.2 1.2.1.77   Biweekly/Bimonthly call agenda (8/30/23)                                             8/28/2023
    1.2 1.2.1.78   Biweekly/Bimonthly summary memo (8/30/23)                                             9/6/2023
    1.2 1.2.1.79   Biweekly/Bimonthly call agenda (9/13/2023)                                           9/11/2023
    1.2 1.2.1.80   Biweekly/Bimonthly summary memo (9/13/2023)                                          9/20/2023
    1.2 1.2.1.81   Biweekly/Bimonthly call agenda (9/27/23)                                             9/25/2023
    1.2 1.2.1.82   Biweekly/Bimonthly summary memo (9/27/23)                                            10/4/2023
    1.2 1.2.1.83   Biweekly/Bimonthly Call agenda (10/11/23)                                            10/9/2023
    1.2 1.2.1.84   Biweekly/Bimonthly summary memo (10/11/23)                                          10/18/2023
    1.2 1.2.1.85   Biweekly/Bimonthly call agenda (10/25/2023)                                         10/23/2023
    1.2 1.2.1.86   Biweekly/Bimonthly summary memo (10/25/2023)                                         11/1/2023
    1.2 1.2.1.87   Biweekly/bimonthly call agenda (11/8/23)                                             11/6/2023
    1.2 1.2.1.88   Biweekly/bimonthly summary memo (11/8/2023)                                         11/15/2023
    1.2 1.2.1.89   Biweekly/Bimonthly call agenda (11/22/23)                                           11/20/2023
    1.2 1.2.1.90   Biweekly/Bimonthly summary memo (11/22/23)                                          11/29/2023
    1.2 1.2.1.91   Biweekly/Bimonthly call agenda (12/6/23)                                             12/4/2023
    1.2 1.2.1.92   Biweekly/Bimonthly summary memo (12/6/23)                                           12/13/2023
    1.2 1.2.1.93   Biweekly/Bimonthly call agenda (12/20/23)                                           12/18/2023
    1.2 1.2.1.94   Biweekly/Bimonthly summary memo (12/20/2023)                                        12/27/2023
    1.4 1.4.1.1    Department presentation briefing materials                                          12/30/2023
    1.4 1.4.1.2    Department presentation summary                                                     12/30/2023
    1.5 1.5.0      Report on the establishment of the Governing Board                                    4/5/2022
    1.5 1.5.1.1    Draft meeting agenda and materials for Governing Board meeting (Spring 2022)         7/15/2022
    1.5 1.5.1.2    Final meeting agendas and materials for Governing Board Meeting (Spring 2022)        7/29/2022
    1.5 1.5.1.3    Governing Board meeting summary to IES (Spring 2022)                                 8/19/2022
    1.5 1.5.2.1    Draft meeting agenda and materials for Governing Board meeting (Fall 2022)          10/19/2022
    1.5 1.5.2.2    Final meeting agendas and materials for Governing Board Meeting (Fall 2022)          11/2/2022
    1.5 1.5.2.3    Governing Board meeting summary to IES (Fall 2022)                                  11/23/2022
    1.5 1.5.3.1    Draft meeting agenda and materials for Governing Board meeting (Spring 2023)         5/15/2023
    1.5 1.5.3.2    Final meeting agenda and materials for Governing Board meeting (Spring 2023)         6/30/2023




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    1.5 1.5.3.3   Governing Board meeting summary to IES (Spring 2023)                                    7/15/202
    1.5 1.5.4.1   Draft meeting agenda and materials for Governing Board meeting (Fall 2023)              11/7/2023
    1.5 1.5.4.2   Final meeting agenda and materials for Governing Board meeting (Fall 2023)             11/14/2023
    1.5 1.5.4.3   Governing Board meeting summary to IES (Fall 2023)                                     11/28/2023
    1.6 1.6.1.1   Bi-annual Assessment of Progress Report (Draft)                                         6/30/2022
    1.6 1.6.1.2   Bi-annual Assessment of Progress Report (Final)                                         6/30/2022
    1.6 1.6.2.1   Bi-annual Assessment of Progress Report (Draft)                                         12/1/2022
    1.6 1.6.2.2   Bi-annual Assessment of Progress Report (Final)                                          1/5/2023
    1.6 1.6.3.1   Bi-Annual Assessment of Progress Report (Draft)                                         6/30/2023
    1.6 1.6.3.2   Bi-Annual Assessment of Progress Report (Final)                                         7/28/2023
    1.6 1.6.4.1   Bi-Annual Assessment of Progress Report (Draft)                                        11/24/2023
    1.6 1.6.4.2   Bi-Annual Assessment of Progress Report (Final)                                        12/29/2023
    1.7 1.7.01    Monthly Progress Report                                                                 4/14/2022
    1.7 1.7.02    Monthly Progress Report                                                                 5/13/2022
    1.7 1.7.03    Monthly Progress Report                                                                 6/14/2022
    1.7 1.7.04    Monthly Progress Report                                                                 7/15/2022
    1.7 1.7.05    Monthly Progress Report                                                                 8/12/2022
    1.7 1.7.06    Monthly Progress Report                                                                 9/15/2022
    1.7 1.7.07    Monthly Progress Report                                                                10/17/2022
    1.7 1.7.08    Monthly Progress Report                                                                11/15/2022
    1.7 1.7.09    Monthly Progress Report                                                                12/14/2022
    1.7 1.7.10    Monthly Progress Report                                                                 1/13/2023
    1.7 1.7.11    Monthly Progress Report                                                                 2/14/2023
    1.7 1.7.12    Monthly Progress Report                                                                 3/14/2023
    1.7 1.7.13    Monthly Progress Report                                                                 4/14/2023
    1.7 1.7.14    Monthly Progress Report                                                                 5/12/2023
    1.7 1.7.15    Monthly Progress Report                                                                 6/14/2023
    1.7 1.7.16    Monthly Progress Report                                                                 7/14/2023
    1.7 1.7.17    Monthly Progress Report                                                                 8/14/2023
    1.7 1.7.18    Monthly Progress Report                                                                 9/14/2023
    1.7 1.7.19    Monthly Progress Report                                                                10/13/2023
    1.7 1.7.20    Monthly Progress Report                                                                11/14/2023
    1.7 1.7.21    Monthly Progress Report                                                                12/14/2023
    1.8 1.8.1     Quarterly Performance Reporting (2022 Q43)                                              6/28/2022
    1.8 1.8.2     Quarterly Performance Reporting (2022 Q4)                                               9/28/2022
    1.8 1.8.3     Quarterly Performance Reporting (2023 Q1)                                              12/30/2022
    1.8 1.8.4     Quarterly Performance Reporting (2023 Q2)                                               3/28/2023
    1.8 1.8.5     Quarterly Performance Reporting (2023 Q3)                                               6/28/2023
    1.8 1.8.6     Quarterly Performance Reporting (2023 Q4)                                               9/28/2023
    1.8 1.8.7     Quarterly Performance Reporting (2024 Q1)                                              12/28/2023
    1.9 1.9.1     Submission of security documents for low- and moderate-level clearances                 As needed
    2.1 2.1.1.1   Cross-REL meeting agenda and materials, quarterly                                       8/31/2022
    2.1 2.1.1.2   Cross-REL meeting summary                                                               9/28/2022
    2.1 2.1.2.1   Teacher workforce leadership area meeting #2 agenda and materials                      11/16/2022
    2.1 2.1.2.2   Teacher workforce meeting #2 summary                                                   11/16/2022
    2.1 2.1.3.1   Cross-REL meeting agenda and materials, quarterly                                        3/1/2023
    2.1 2.1.3.2   Cross-REL meeting summary, quarterly                                                    3/31/2023
    2.1 2.1.4.1   Cross-REL Meeting agenda and materials, quarterly                                        6/1/2023
    2.1 2.1.4.2   Cross-REL Meeting summary, quarterly                                                    6/30/2023
    2.1 2.1.5.1   Cross-REL meeting agenda and materials, quarterly                                        9/1/2023
    2.1 2.1.5.2   Cross-REL meeting summary, quarterly                                                    9/30/2023
    2.1 2.1.6.1   Cross-REL meeting agenda and materials, quarterly                                       12/1/2023
    2.1 2.1.6.2   Cross-REL Meeting summary, quarterly                                                   12/31/2023
    2.3 2.3.1     Signed letter(s) of intent with each regional Comprehensive Center in REL region        5/30/2022




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    2.3 2.3.1.2    Annually updated letter(s) of intent with each regional Comprehensive Center in REL Region     5/26/2023
    2.3 2.3.2.1    Joint needs sensing summary memo                                                               3/31/2023
                   Partnership Proposal: DPS Identifying promising approaches for student-centered math
    3.1 3.1.1      instruction                                                                                    6/30/2022
    3.1 3.1.2      Partnership proposal: Strengthening culture-based education in Standing Rock                    6/1/2022
    3.1 3.1.3      Partnership proposal: Teacher diversity in Colorado                                            8/31/2022
                   Partnership proposal: Supporting postsecondary and workforce readiness of students in
    3.1 3.1.4      Kansas                                                                                         7/15/2022
    3.1 3.1.5      Partnership proposal: Teacher retention in Missouri                                            7/29/2022
    3.1 3.1.6      Partnership Proposal: Mitigating teacher shortages in Wyoming                                  8/31/2022
    3.1 3.1.7      Partnership proposal: Accelerating math achievement in North Dakota                            9/16/2022
    3.1 3.1.8      Partnership proposal: Supporting elementary readers in Nebraska                                1/31/2023
    3.1 3.1.9      Partnership proposal: South Dakota TBD partnership                                             2/28/2023
    3.2 3.2.10.1   2022 Annual Stakeholder Feedback Survey Partner Responses                                     11/30/2022
    3.2 3.2.10.2   2023 Partnership Stakeholder Feedback Survey Item Selection                                    9/29/2023
    3.2 3.2.10.3   2023 Annual Stakeholder Feedback Survey Partner Responses                                     11/30/2023
                   Quarterly partnership meeting agenda and materials: Strengthening culture-based math
    3.2 3.2.2.1    education in Standing Rock                                                                    10/31/2022
                   Concept Paper: DPS Better understanding students' perceptions of their experience in the
    4.1 4.1.17.1   grade 9 math classroom, highlighting those that facilitate or inhibit their success            11/4/2022
                   Project Proposal: DPS Better understanding students' perceptions of their experience in the
    4.1 4.1.17.2   grade 9 math classroom, highlighting those that facilitate or inhibit their success            2/15/2023
                   Project concept paper: Standing Rock Developing culture-based math modules and
    4.1 4.1.2.1    professional learning                                                                          7/15/2022
                   Project proposal: Standing Rock Developing culture-based math modules and professional
    4.1 4.1.2.2    learning                                                                                       9/28/2022
                   Standing Rock Developing culture-based math modules and professional coaching session
    4.1 4.1.2.3    #1 materials                                                                                    1/6/2023
                   Standing Rock Developing culture-based math modules and professional coaching session
    4.1 4.1.2.4    #2 materials                                                                                   2/28/2023
                   Standing Rock Developing culture-based math modules and professional coaching session
    4.1 4.1.2.5    #3 materials                                                                                   6/30/2023
                   Standing Rock Developing culture-based math modules and professional coaching session
    4.1 4.1.2.6    #4 materials                                                                                  10/31/2023
                   Standing Rock Developing culture-based math modules and professional coaching session
    4.1 4.1.2.7    #5                                                                                            12/29/2023
                   Standing Rock Developing culture-based math modules and professional coaching session
    4.1 4.1.2.8    #6 materials                                                                                   6/28/2024
    4.1 4.1.2.9    Standing Rock Developing culture-based education phase 1 resource guide                        5/31/2024
    4.1 4.1.2.10   Standing Rock Developing culture-based math Phase 2 Resource Guide                             9/30/2024
                   Project concept paper: Planning for, implementing, and learning from the piloting of a
                   Lakota/Dakota culture-based math innovation in elementary classrooms on the Standing
    4.1 4.1.3.1    Rock Reservation                                                                              12/29/2023
    4.1 4.1.16.1   Concept Paper: CO Factors Data Collection                                                      12/7/2022
    4.1 4.1.16.2   Project Proposal: CO Factors Data Collection                                                   2/24/2023
                   Project Concept Paper: KS development of IPS implementation instruments and data
    4.1 4.1.6.1    collection processes                                                                           8/19/2022
                   Project proposal: Kansas Development of IPS implementation instruments and data
    4.1 4.1.6.2    collection processes                                                                          11/11/2022
                   KS Development of IPS implementation instruments and data collection processes: Coaching
    4.1 4.1.6.3    Session materials #1                                                                           11/8/2022
                   KS Development of IPS implementation Instruments and Data Collection Processes:
    4.1 4.1.6.4    Coaching Session Materials #2                                                                   1/6/2023




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                   KS Development of IPS implementation instruments and data collection processes: Coaching
    4.1 4.1.6.5    Session materials #3                                                                            1/31/2023
                   KS Development of IPS implementation instruments and data collection processes: Coaching
    4.1 4.1.6.6    Session materials #4                                                                            5/31/2023
    4.1 4.1.7.1    Project Concept Paper: KS Summary of effective IPS practices                                    9/16/2022
    4.1 4.1.7.2    Project proposal: KS Summary of effective IPS practices                                        11/11/2022
    4.1 4.1.7.3    KS Summary of effective IPS practices: coaching materials #1                                    1/20/2023
    4.1 4.1.7.4    KS Summary of effective IPS practices: coaching session materials #2                            5/31/2023
    4.1 4.1.7.5    KS Summary of Effective IPS practices: coaching session materials #3                            9/29/2023
    4.1 4.1.8.1    Project concept paper: MO Support District Tracking of New Teacher Experiences                 11/10/2022
    4.1 4.1.8.2    Project proposal: MO Support District Tracking of New Teacher Experiences                        1/6/2023
                   Project Concept Paper: MO Technical support to help Ritenour School District monitor
    4.1 4.1.14.1   working conditions more effectively to inform teacher retention efforts                        11/10/2022
                   Project Proposal: MO Technical support to help Ritenour School District monitor working
    4.1 4.1.14.2   conditions more effectively to inform teacher retention efforts                                 1/26/2023

    4.1 4.1.13.1   Wyoming Support for Formative Evaluation of the Teacher Apprenticeship Concept Paper           12/16/2022

    4.1 4.1.13.2   Wyoming Support for Formative Evaluation of the Teacher Apprenticeship Project Proposal         1/27/2023
                   North Dakota Evidence-based strategies for Differentiated instruction and blended learning
    4.1 4.1.12.1   concept paper                                                                                   8/31/2022
                   North Dakota Evidence-based strategies for differentiated instruction and blended learning
    4.1 4.1.12.2   project proposal                                                                               11/30/2022
    4.1 4.1.15.1   Concept Paper: ND Grantee Community of Practice                                                  1/6/2023
    4.1 4.1.15.2   Project Proposal: ND Grantee Community of Practice                                              2/28/2023
    4.1 4.1.10.1   Project Concept Paper: NE TBD Project                                                           3/31/2023
    4.1 4.1.9.1    Project Concept Paper: SD TBD Project                                                           3/31/2023
    4.2 4.2.1.1    AAE #1 proposal                                                                                 7/29/2022
    4.2 4.2.1.2    AAE MO Teacher Survey                                                                           8/19/2022
    4.2 4.2.1.3    AAE #1 Summary                                                                                  9/14/2022
    4.2 4.2.2.1    AAE #2 Summary                                                                                  3/31/2022
    4.2 4.2.2.2    AAE #3 Summary                                                                                   6/302022
    4.2 4.2.2.3    AAE #4 Summary                                                                                  9/30/2022

    5.1 5.1.7.1    Concept Paper: DPS Better understanding the retrospective experiences of grade 9 students       11/4/2022
                   Project Proposal: DPS Better understanding the retrospective experiences of grade 9
    5.1 5.1.7.2    students                                                                                        2/15/2023
    5.1 5.1.5.1    Project concept paper: Colorado Teacher Pipeline Study                                          9/23/2022
    5.1 5.1.5.2    Project Proposal: Colorado teacher pipeline study                                              11/30/2022
    5.1 5.1.6.1    Project Concept Paper: MO Statewide Study to Identify Promising Mentoring Practices            12/20/2022
    5.1 5.1.6.2    Project Proposal: MO Statewide Study to Identify Promising Mentoring Practices                  1/31/2023
    5.1 5.1.2.2    Algebra Toolkit Efficacy Study Proposal                                                         9/29/2022

    5.1 5.1.2.3    Toolkit Study: Data Sharing agreement or memorandum of understanding with districts             7/31/2024
                   Toolkit Study: Toolkit evaluation draft OMB clearance package for data collection
    5.1 5.1.2.4    instruments                                                                                    10/31/2023

    5.1 5.1.2.5    Toolkit Study: Toolkit evaluation draft OMB clearance package for recruitment materials         4/28/2023
    5.1 5.1.2.6    Toolkit Study: Algebra toolkit efficacy study data collection instruments                       6/30/2023
    5.1 5.1.2.7    Toolkit Study: Toolkit evaluation white paper                                                   5/31/2026

    5.2 5.2.1.2    Proposal for toolkit to support evidence-based Algebra instruction in middle and high school    5/18/2022
    5.2 5.2.1.3    Toolkit Development Recruitment One-Pager                                                        8/3/2022
    5.2 5.2.1.4    Toolkit Development Storyboard and Script                                                      10/27/2022




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    5.2 5.2.1.5    Toolkit Development: Submit Toolkit                                                          5/31/2024

    5.2 5.2.1.6    Toolkit Development: Summary of revisions to toolkit based on efficacy evaluation results   11/30/2025
    6.2 6.2.1.1    Proposal: Infographic on REL CE and SR Partnership                                            7/8/2022
    6.2 6.2.1.2    Standing Rock Infographic Content                                                            7/29/2022
    6.2 6.2.1.3    Standing Rock Infographic                                                                    8/12/2022
    6.2 6.2.2.1    Proposal: Fact Sheet on Culture-Based education and effect models of PD                       9/9/2022
    6.2 6.2.2.2    Fact sheet on Culture-based education and effect models of PD                               11/30/2022
    6.2 6.2.3.1    Proposal: Fact sheet Supporting School Transformation                                        11/1/2022
    6.2 6.2.3.2    Draft: Fact sheet Supporting School Transformation                                           1/31/2023
    6.2 6.2.4.1    Proposal: KS understanding IPS infographic or fact sheet                                    10/28/2022
    6.2 6.2.4.2    Final: Fact sheet/infographic: KS Understanding IPS                                           2/1/2023
    6.2 6.2.6.1    Proposal: Colorado Pipeline Infographic                                                      8/30/2023
    6.2 6.2.6.2    Final: Colorado Pipeline Infographic                                                        10/30/2023
    6.2 6.2.7.1    Video summarizing the REL partnership with Standing Rock                                    12/29/2023
    6.2 6.2.8.1    Proposal: KS summary of effective IPS practices fact sheet                                    1/6/2023
    6.2 6.2.8.2    Draft: KS Summary of effective IPS fact sheet                                                2/28/2023
    6.3 6.3.1      NNERPP conference materials                                                                   7/5/2022
    6.3 6.3.2      NNERPP conference summary                                                                     8/3/2022
    6.3 6.3.3      Teacher diversity webinar proposal                                                          12/14/2022
    6.3 6.3.4      Teacher diversity webinar agenda and materials                                                2/6/2023
    6.3 6.3.5      Teacher diversity webinar summary                                                            3/27/2023
    6.3 6.3.6.1    Webinar Proposal: Colorado Pipeline Webinar                                                  1/15/2023
    6.3 6.3.6.2    Webinar Agenda and Materials: Colorado Pipeline Webinar                                       3/8/2023
    6.3 6.3.6.3    Webinar Summary: Colorado Pipeline Webinar                                                   4/19/2023
                   Webinar Proposal: Webinar on culture-based education, evidence-based professional
    6.3 6.3.7.1    learning, and teacher experiences designing and piloting the modules                        10/31/2023
                   Webinar Agenda and Materials: Webinar on culture-based education, evidence-based
    6.3 6.3.7.2    professional learning, and teacher experiences designing and piloting the modules            12/8/2023
    6.4 6.4.1.1    Draft newsletter (Summer 2022)                                                                6/3/2022
    6.4 6.4.1.2    Disseminate Final Newsletter (Summer 2022)                                                   6/30/2022
    6.4 6.4.2.1    Draft newsletter (Fall 2022)                                                                  9/2/2022
    6.4 6.4.3.1    Draft Newsletter (Winter 2022)                                                              11/18/2022
    6.4 6.4.3.2    Final Newsletter (Winter 2022)                                                              12/30/2022
    6.4 6.4.4.1    Draft Newsletter (Spring 2023)                                                                3/3/2023
    6.4 6.4.4.2    Final Newsletter (Spring 2023)                                                               3/31/2023
    6.4 6.4.5.1    Draft Summer Newsletter 2023                                                                  6/1/2023
    6.4 6.4.5.2    Final Summer Newsletter 2023                                                                 6/30/2023
    6.4 6.4.6.1    Draft Fall Newsletter                                                                         9/1/2023
    6.4 6.4.6.2    Final Fall Newsletter 2023                                                                   9/29/2023
    6.4 6.4.7.1    Draft Winter Newsletter 2023                                                                 12/1/2023
    6.4 6.4.7.2    Final Winter Newsletter 2023                                                                12/29/2023
    6.5 6.5.1.1    Blog #1                                                                                      7/29/2022
    6.5 6.5.1.2    Blog #2                                                                                      8/24/2022
    6.5 6.5.1.3    Blog #3                                                                                     10/10/2022
    6.5 6.5.1.4    Blog #4                                                                                     12/16/2022
    6.6 6.6.1.01   Social Media Posts                                                                           3/31/2022
    6.6 6.6.1.02   Social Media Posts                                                                           4/29/2022
    6.6 6.6.1.03   Social Media Posts                                                                           5/31/2022
    6.6 6.6.1.04   Social Media Posts                                                                           6/30/2022
    6.6 6.6.1.05   Social Media Posts                                                                           7/31/2022
    6.6 6.6.1.06   Social Media Posts                                                                           8/31/2022
    6.6 6.6.1.07   Social Media Posts                                                                           9/30/2022
    6.6 6.6.1.08   Social Media Posts                                                                          10/28/2022




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    6.6 6.6.1.09   Social Media Posts                                           11/30/2022
    6.6 6.6.1.10   Social Media Posts                                           12/30/2022
    6.6 6.6.1.11   Social Media Posts                                            1/31/2023
    6.6 6.6.1.12   Social Media Posts                                            2/28/2023
    6.6 6.6.1.13   Social Media Posts                                            3/31/2023
    6.6 6.6.1.14   Social Media Posts                                            4/28/2023
    6.6 6.6.1.15   Social Media Posts                                            5/31/2023
    6.6 6.6.1.16   Social Media Posts                                            6/30/2023
    6.6 6.6.1.17   Social Media Posts                                            7/31/2023
    6.6 6.6.1.18   Social Media Posts                                            8/31/2023
    6.6 6.6.1.19   Social Media Posts                                            9/29/2023
    6.6 6.6.1.20   Social Media Posts                                           10/31/2023
    6.6 6.6.1.21   Social Media Posts                                           11/30/2023
    6.6 6.6.1.22   Social Media Posts                                           12/29/2023
    6.7 6.7.1      Templates                                                      6/1/2022
    6.7 6.7.2.1    REL Central brochure                                          9/30/2022




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